                      Case 22-11066-JTD   Doc 3-1   Filed 11/14/22   Page 1 of 25




                                            EXHIBIT A

                                          Proposed Order




{ I 368.002-W00(rt1969. )
                      Case 22-11066-JTD   Doc 3-1   Filed 11/14/22    Page 2 of 25




                              IN THE UNITED STATBS BANKRUPTCY COURT
                                   FOR THB DISTRICT OF DELAWARE
    In re

    ALAMEDA RESEARCH LLC,                                     Chapter    11


                                                              Case   No. 22-11066 (JTD)

                                        Debtor
                                                        X
In re

ALAMEDA RESEARCH LTD,                                         Chapter    11


                                                              Case No.    22-1106l (JTD)

                                        Debtor
                                                       X

In re

FTX TRADING LTD.,
                                                              Chapter   11


                                                              Case   No. 22-11068 (JTD)
                                       Debtor
                                                       X
In re

ALAMEDA RESEARCH HOLDINGS INC.,                               Chapter 1l

                                                              Case   No. 22-11069 (JTD)

                                       Debtor
                                                       X

In re

CLIFTON BAY INVESTMENTS LLC                                   Chapter   11


                                                              Case No.   22-II0l0 (JTD)

                                       Debtor
                                                       X




{   I368 002-W00(18969.   }
                    Case 22-11066-JTD   Doc 3-1        Filed 11/14/22   Page 3 of 25




In re

WEST REALM SI{IRE,S SERVICES INC.,                               Chapter l1

                                                                 Case No.    22-II07I (JTD)

                                    Debtor
                                                           X
In re

WEST REALM SHIRES FINANCIAL SERVICES                             Chapter    11
INC.,
                                                                 Case No. 22-11012 (JTD)

                                    Debtor'
                                                           X

In re

LEDGER HOLDINGS INC.,                                            Chapter    11


                                                                 Case   No. 22-11073 (JTD)

                                    Debtor
                                                           X
In re

FTX JAPAN HOLDINGS K.K.,                                         Chapter 1i

                                                                 Case No. 22-11074 (JTD)

                                    Debtor
                                                           X

In re

FTX EUROPE AG,                                                   Chapter'   11


                                                                 Case   No. 22-11075 (JTD)

                                    Debtor
                                                           X




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{ l 368.002-W0068e69. )
                      Case 22-11066-JTD   Doc 3-1       Filed 11/14/22    Page 4 of 25



In re

FTX PROPERTY HOLDINGS LTD,                                        Chapter   11


                                                                  Case   No. 22-11076 (JTD)

                                      Debtor
                                                            X
In re

LT BASKETS LTD..                                                  Chapter   11


                                                                  Case No.   22-ll0l7   (JTD)

                                      Debtor
                                                            X

In re

ALAMEDA TR LTD,                                                   Chapter   11


                                                                  Case   No. 22-11078 (JTD)

                                      Debtor
                                                            X
In re

ALLSTON WAY LTD.                                                  Chapter   11


                                                                  Case   No. 22-11079 (JTD)

                                      Debtor
                                                            X
In re

ANALISYA PTE LTD,                                                 Chapter   11


                                                                  Case   No. 22-11080 (JTD)

                                      Debtor
                                                            X




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{ l3   68.002-W0068969.   )                     -J
                   Case 22-11066-JTD   Doc 3-1     Filed 11/14/22   Page 5 of 25




In re

ATLANTIS TECHNOLOGY LTD.,                                    Chapter   11


                                                             Case   No. 22-11081(JTD)

                                   Debtor
                                                       X
In re

BANCROFT WAY LTD,                                            Chapter   11


                                                             Case   No. 22-11082 (JTD)

                                   Debtor
                                                       X

In re

BLUE RIDGE LTD.                                              Chapter   11


                                                             Case   No. 22-11083 (JTD)

                                   Debtor
                                                       X
In re

CARDINAL VENTURES LTD,                                       Chapter l1

                                                             Case   No. 22-11084 (JTD)

                                   Debtor
                                                       X
In re

CEDAR BAY LTD.                                               Chapter l1

                                                             Case No. 22-11085 (.lTD)

                                   Debtor
                                                       X




{ 1368,002-W00613969   }                     -4-
                   Case 22-11066-JTD   Doc 3-1    Filed 11/14/22    Page 6 of 25




In re

LIQUID SECURITIES SINGAPORE PTE LTD,                        Chapter l1

                                                            Case No. 22-11086 (JTD)

                                   Debtor
                                                      X

In re

MACLAURIN INVESTMENTS LTD.,                                 Chapter   11


                                                            Case No. 22-11087 (JTD)

                                   Debtor
                                                      X
In re

MANGROVE CAY LTD,                                           Chapter I I

                                                            Case No. 22-11088 (JTD)

                                   Debtor
                                                      X
In re

PAPER BIRD INC,                                             Chapter   11


                                                            Case No. 22-11089 (JTD)

                                   Debtor
                                                     X
In re

PIONEER STREET INC.,                                        Chapter I I

                                                            Case   No. 22-11090 (JTD)

                                   Debtor
                                                     X




{ 1368.002-W0068969. )                       -5
                   Case 22-11066-JTD   Doc 3-1        Filed 11/14/22    Page 7 of 25




In re

QUOINE INDIA PTE LTD,                                           Chapter   11


                                                                Case   No. 22-11091(JTD)

                                   Debtor
                                                          X
In re

QUOINE VIETNAM CO. LTD,                                         Chapter   11


                                                                Case   No. 22-11092 (JTD)

                                   Debtor
                                                          X

In re

SNG INVESTMENTS YATIRIM VE                                      Chapter   11
DANr$MANLTK ANONiM $i RKE',t'j.
                                                                Case   No. 22-11093 (JTD)

                                   Debtor
                                                          X
In re

STRATEGY ARK COLLECTIVE LTD..                                   Chapter   11


                                                                Case   No. 22-11094 (JTD)

                                   Debtor
                                                          X
In re

TECI{NOLOGY SERVICES BAHAMAS LIMITED,                     :     Chapter   11


                                                                Case   No. 22-11095 (JTD)

                                   Debtor
                                                         X




{ 1368.002-W0068969. )                           6-
                          Case 22-11066-JTD   Doc 3-1    Filed 11/14/22    Page 8 of 25




In re

VERDANT CANYON CAPITAL LLC.                                        Chapter    11


                                                                   Case   No. 22-11096 (JTD)

                                          Debtor
                                                            X
In re

WEST INNOVATIVE BARISTA LTD.,                                      Chapter    11


                                                                   Case   No. 22-11097 (JTD)

                                          Debtor
                                                            X
In re

WESTERN CONCORD ENTERPRISES LTD.,                                  Chapter'   11


                                                                   Case   No. 22-11098 (JTD)

                                          Debtor
                                                            X
In re

FTX EQTJITY RECORD HOLDINGS LTD,                                   Chapter    11


                                                                   Case   No. 22-11099 (JTD)

                                          Debtor
                                                            X
In re

FTX EXCHANGE FZE.                                                  Chapter    11


                                                                   Case   No. 22-lll00 (JTD)

                                          Debtor
                                                            X




,{   I   368.002-W006t19{r9   )                     -7
                      Case 22-11066-JTD   Doc 3-1     Filed 11/14/22    Page 9 of 25




    In re

    FTX HONG KONG LTD,                                          Chapter   11


                                                                Case   No. 22-11101 (JTD)

                                      Debtor
                                                          X
In re

FTX JAPAN K.K.,                                                 Chapter   11


                                                                Case   No. 22-11102 (JTD)

                                      Debtor
                                                         X
In re

F-TX JAPAN SERVICES            KK,                              Chapter   11


                                                                Case   No. 22-11103 (JTD)

                                      Debtor
                                                         X
In re

ALAMEDA AUS PTY LTD,                                            Chapter   11


                                                                Case   No. 22-11104 (JTD)

                                      Debtor
                                                         X
In re

ALAMEDA RESEARCH (BAI{AMAS) LTD,                                Chapter   11


                                                                Case   No. 22-11105 (JTD)

                                      Debtor
                                                         X




{   I368 002-w006rì969.   )                     -8-
                    Case 22-11066-JTD     Doc 3-1      Filed 11/14/22    Page 10 of 25




In re

ALAMEDA RESEARCH KK,                                              Chapter   11


                                                                  Case   No. 22-11106 (JTD)

                                        Debtor
                                                           X
In re

ALAMEDA RESEARCH PTE LTD.                                         Chapter   11


                                                                  Case   No. 22-11107 (JTD)

                                        Debtor
                                                           X
In re

ALAMEDA RESEARCH YANKARI LTD,                                     Chapter   11


                                                                  Case   No. 22-11108 (JTD)

                                        Debtor
                                                           X
In re

ALAMEDA TR SYSTEMS             S. DE R.   L                       Chapter   11


                                                                  Case   No. 22-11109 (JTD)

                                        Debtor
                                                           X
In re

BLOCKFOLIO, INC.,                                                Chapter    11


                                                                 Case    No. 22-11110 (.rTD)

                                     Debtor
                                                           X




{r   368.002-W0068969   )                        -9-
                 Case 22-11066-JTD     Doc 3-1     Filed 11/14/22    Page 11 of 25




In re

CLIFTON BAY INVESTMENTS LTD,                                  Chapter l1

                                                              Case No. 22-1\111 (JTD)

                                     Debtor
                                                       X
In re

COTTONWOOD GROVE LTD,                                         Chapter l1

                                                              Case   No. 22-11112 (JTD)

                                     Debtor.
                                                       X
In re

CRYPTO BAHAMAS LLC.                                           Chapter 1l

                                                              Case   No. 22-1111 3 (JTD)

                                     Debtor
                                                       X
In re

DEEP CREEK LTD,                                               Chapter   11


                                                              Case   No. 22-11114 (JTD)

                                     Debtor
                                                       X
In re

DIGITAL CUSTODY INC..                                         Chapter 1l

                                                              Case   No. 22-11115 (JTD)

                                     Debtor
                                                       X




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                   Case 22-11066-JTD     Doc 3-1   Filed 11/14/22    Page 12 of 25




In re

FTX (GIBRALTAR) LTD,                                          Cliapter i   1




                                                              Case   No. 22-11116 (JTD)

                                       Debtor
                                                       X

In re

FTX CANADA INC,                                               Chapter   11


                                                              Case No. 22-11117 (JTD)

                                       Debtor
                                                       X
In re

FTX DIGITAL HOLDINGS (SINGAPORE) PTE                          Chapter l1
LTD,
                                                              Case   No. 22-11118 (JTD)

                                       Debtor
                                                       X
In re

FTX PRODUCTS (STNGAPORE) PTE LTD.                             Chapter 1l

                                                              Case   No. 22-11119 (JTD)

                                       Debtor
                                                       X
In re

FTX SERVICES SOLUTIONS LTD..                                  Chapter   11


                                                              Case No. 22-11120 (JTD)

                                       Debtor
                                                       X




{ l 368.002-W00689ó9. )                         -11-
                      Case 22-11066-JTD     Doc 3-1       Filed 11/14/22    Page 13 of 25



In re

FTX STRUCTURED PRODUCTS AG.                                          Chapter   11


                                                                     Case   No. 22-IlI22 (ITD)

                                          Debtor
                                                              X
In re

FTX TRADING GMBI_I.                                                  Chapter   11


                                                                     Case No.   22-1\123 (JTD)

                                          Debtor
                                                              X
In re

FTX ZUMA LTD,                                                        Chapter 1l

                                                                     Case No.   22-IlI24 (ITD)

                                          Debtor
                                                              X
In re

GLOBAL COMPASS DYNAMICS LTD..                                        Chaptel   11


                                                                    Case    No. 22-11125 (JTD)

                                          Debtor
                                                              X
In re

GOODMAN INVESTMENTS LTD..                                           Chapter    11


                                                                    Case    No. 22-11126 (JTD)

                                      Debtor
                                                              X




{ I 3{rtì.002-W0068969. }                          -12-
                    Case 22-11066-JTD     Doc 3-1      Filed 11/14/22    Page 14 of 25




In re

HAWAII DIGITAL ASSETS iNC.,                                       Chapter    11


                                                                  Case No.    22-lll27 (JTD)

                                        Debtor
                                                           X
In re

INNOVATiA LTD,                                                    Chapter    11


                                                                  Case   No. 22-11128 (JTD)

                                        Debtor
                                                           X
ln    re

ISLAND BAY VENTURES INC.                                          Chapter 1l

                                                                  Case No. 22-11129 (.fTD)

                                        Debtor
                                                           X
In re

KILLARNEY LAKE INVESTMENTS LTD,                                   Chapter    11


                                                                  Case   No. 22-11131 (JTD)

                                        Debtor
                                                           X
In re

ZUBR EXCHANGE LTD,                                                Cliapter   11


                                                                  Case No.    22-ll132 (JTD)

                                        Debtor
                                                           X




(   I368 002-W00(r8969   )                       -1   3-
                       Case 22-11066-JTD     Doc 3-1   Filed 11/14/22    Page 15 of 25




In re

ALAMEDA GLOBAL SERVICES LTD.,                                     Chapter   11


                                                                  Case   No. 22-11134 (JTD)

                                           Debtor
                                                           X
In re

COTTONV/OOD TECHNOLOGIES LTD.,                                    Chapter   11


                                                                  Case   No. 22-11136 (JTD)

                                           Debtor
                                                           X
In re

DECI( TECHNOLOGIES HOLDINGS LLC,                                  Chapter   11


                                                                  Case   No. 22-If 138 (JTD)

                                           Debtor
                                                           X
In re

DECK TECHNOLOGIES INC.,                                           Chapter l1

                                                                  Case   No. 22-11139 (JTD)

                                           Debtor
                                                           X
In re

EUCLID WAY LTD,                                                   Chapter   11


                                                                  Case   No. 22-11141 (JTD)

                                           Debtor
                                                           X




{   1   368 002-W0068969.   )                       -t4-
                      Case 22-11066-JTD     Doc 3-1     Filed 11/14/22    Page 16 of 25




In re

FTX DIGITAL ASSETS LLC,                                            Chapter   11


                                                                   Case   No. 22-11143 (JTD)

                                          Debtor
                                                            X

In re

FTX EMEA LTD.,                                                     Chapter   11


                                                                   Case   No. 22-11145 (JTD)

                                          Debtor
                                                            X
In re

FTX US TRADING, [NIC.,                                             Chapter   11


                                                                   Case   No. 22-11149 (JTD)

                                          Debtor'
                                                            x
In re

FIIVE EMPIRE TRADING PTY LTD,                                      Chapter   11


                                                                   Case   No. 22-11150 (JTD)

                                          l)ebtor
                                                            X
In re

LIQUID FINANCIAL USA INC.,                                         Chapter   11


                                                                   Case   No. 22-11151 (JTD)

                                          Debtor
                                                            X




{   l3{r8 002-W00689{r9.   )                        -1 5-
                   Case 22-11066-JTD     Doc 3-1   Filed 11/14/22    Page 17 of 25




In re

LIQUIDEX LLC,                                                 Chapter   11


                                                              Case   No. 22-11152 (JTD)

                                       Debtor
                                                       X

In re

NORTI_I DIMENSION INC,                                        Chapter   11


                                                              Case   No. 22-11153 (JTD)

                                       Debtor
                                                       X
In re

NORTFI WIRELESS DIMENSION INC,                                Chapter 1l

                                                              Case   No. 22-11154 (JTD)

                                       Debtor
                                                       X
In re

LEDGERPRIME BITCOIN YIELD                                     Chapter   11
ENI-IANCEMENT MASTER FUND LP,
                                                              Case   No. 22-11155 (JTD)

                                       Debtor
                                                       X
In re

LEDGERPRIME DIGITAL ASSET                                     Chapter   11
OPPORTUNITIES FUND, LLC,
                                                              Case   No. 22-lI156 (JTD)

                                       Debtor
                                                       X




{ l 368.002-W0068969. }                         -r6-
                    Case 22-11066-JTD     Doc 3-1    Filed 11/14/22    Page 18 of 25



In re

LE,DGERPRIME DIGITAL ASSET                                      Chapter    11
OPPORTT]NITIES MASTER FLIND LP,
                                                                Case   No. 22-11157 (JTD)

                                        Debtor
                                                         X
In re

LEDGER PRIME LLC,                                               Chapter    11


                                                                Case   No. 22-ll158 (JTD)

                                        Debtor
                                                         X
In re

LEDGERPzuME VENTURES, LP,                                       Chapter'   11


                                                                Case   No. 22-11159 (JTD)

                                        Debtor
                                                         X
In re

NORTH DIMENSION LTD,                                            Chapter    11


                                                                Case   No. 22-11160 (JTD)

                                        Debtor
                                                         X
In re

QUOINE PTE LTD,                                                 Chapter l1

                                                                Case   No. 22-11161 (JTD)

                                        Debtor
                                                         X




{ Ì 368.002-W00{,8969, )                         -17 -
                    Case 22-11066-JTD     Doc 3-1       Filed 11/14/22    Page 19 of 25



In re

CEDAR GROVE TECHNOLOGY SERVICES, LTD,                       :      Chapter   11


                                                                   Case No. 22-11162 (JTD)

                                        Debtor
                                                            X
In re

DAAG TRADING, DMCC,                                                Chapter   11


                                                                   Case No. 22-11163 (JTD)

                                        Debtor
                                                            X
In re

FTX CERTIFICATES GMBH.                                             Chapter   11


                                                                   Case No. 22-11164 (JTD)

                                        Debtor
                                                            X
In re

FTX CRYPTO SERVICES LTD..                                          Chapter   11


                                                                   Case No. 22-11165 (JTD)

                                        Debtor
                                                            X
In re

FTX EU LTD.,                                                       Chapter   11


                                                                   Case   No, 22-11166 (JTD)

                                        Debtor'
                                                            X




{ I 368.002-W00689(r9. )                          -   18-
                   Case 22-11066-JTD     Doc 3-1    Filed 11/14/22    Page 20 of 25



In re

FTX LEND INC.,                                                 Chapter   11


                                                               Case   No. 22-11167 (JTD)

                                       Debtor
                                                        X
In re

FTX MARKETPLACE, INC.,                                         Chapter   11


                                                               Case No.   22-IIl68 (JTD)

                                       Debtor
                                                        X
In re

F'TX SWITZERLAND GMBH,                                         Chapter   11


                                                               Case No.   22-lIl69 (JTD)

                                       Debtor
                                                        X
In re

FTX TURKEY TEKNOLO.Ti VE TICARET                               Chapter   11
ANONÌM $ÌRKET,
                                                               Case   No. 22-11170 (JTD)

                                       Debtor'
                                                        X
In re

FTX US SERVICES, INC.,                                         Chapter   11


                                                               Case   No. 22-11171 (JTD)

                                       Debtor
                                                        X




{ r 368 002-W0068969 )                           -19-
                        Case 22-11066-JTD     Doc 3-1   Filed 11/14/22    Page 21 of 25



In re

FTX VENTURES LTD,                                                  Chapter l1

                                                                   Case   No. 22-1lll2 (ITD)

                                            Debtor
                                                            X
In re

GG TRADING TERMINAL LTD,                                           Chapter   11


                                                                   Case   No. 22-11173 (JTD)

                                            Debtor
                                                            X
In le

GOOD LUCK GAMES, LLC,                                              Chapter   11


                                                                   Case   No. 22-11174 (JTD)

                                            Debtor
                                                            X
In re

HANNAM GROUP INC,                                                  Chapter   11


                                                                   Case   No. 22-11175 (JTD)

                                            Debtor
                                                            X
In re

I{ILLTOP TECHNOLOGY SERVICES LLC,                                  Chapter   11


                                                                   Case   No. 22-11176 (.rTD)

                                            Debtor
                                                            X




{   1   368 002-W0068969. }                          -20-
                 Case 22-11066-JTD             Doc 3-1      Filed 11/14/22         Page 22 of 25



In re

LEDGERPRIME BITCOIN YIELD                                                   Chapter   11
ENHANCEMENT FUND, LLC,
                                                                            Case   No. 22-11T77 (JTD)

                                            Debtor
                                                                   X
In re

V/EST REALM SHIRES INC.,                                                    Chapter   11


                                                                            Case   No. 22-11183 (JTD)

                                            Debtor.
                                                                   X


        ORDER (I) AUTHORIZING JOINT ADMINISTRATION OF THE DEBTORS'
         CHAPTER 11 CASES AND IIII GRA   G CERTAIN RELATED RELIEF

                   Upon the motion (the "Motion")r of FTX Trading Ltd. and its affiliated debtors

and debtors-in-possession (collectively, the "Debtors"), for entry of an order (this "Order")

(a) authorizing joint administration of the Debtors' Chapter 11 Cases and the consolidation

thereof for procedural purposes only and (b) granting certain related relief; this Court having

jurisdiction to consider the Motion pursuant to 28 U.S.C. 8e 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29,2012; and this Court being able to issue a final order consistent with Article

III of the United    States Constitution; and venue of these Chapter 11 Cases and the Motion in this

district being proper pursuant to 28 U.S.C. $6 1408 and 1409; and this matter being a core

proceeding pursuant to 28 U.S.C. $ 157(b); and this Court having found that proper and adequate

notice of the Motion and the relief requested therein has been provided in accordance with the

Bankruptcy Rules and the Local Rules, and that, except as otherwise ordered herein, no other or



1     Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion

{   r36s.oo2-woo6se6e.}                                 -21-
                      Case 22-11066-JTD              Doc 3-1         Filed 11/14/22        Page 23 of 25




 further notice is necessary; and objections (if any) to the Motion having been withdrawn,

 resolved or overruled on the merits; and a hearing having been held to consider the relief

 requested in the Motion and upon the record of the hearing and all of the proceedings had before

 this Court; and this Court having found and determined that the relief sought in the Motion is in

the best interests of the Debtors, their estates, their creditors and all other parties-in-interest; and

that the legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and after due deliberation and sufficient cause appearing therefor.;

                          IT IS HEREBY ORDERED THAT:

                          l.     The Motion is GRANTED as set forth herein.

                          2.     Pursuant to section 105(a) of the Bankruptcy Code, Bankruptcy Rule

 1015(b) and Local Rule 1015-1, the above-captioned Chapter 11 Cases are consolidated for

procedural purposes only and shall be jointly administered by this Court as Case No. 22-1 1068

(JrD).

                          3.     The consolidated caption of the jointly administered cases shall read as

follows:

                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

In re                                                                  Chapter 1l

FTX TRADING LTD., et al.,t                                            Case   No. 22-11068 (JTD)

             Debtors                                                  (Jointly Administered)




        ThelastfourdigitsofF-TXTladingLtd.'staxidentificationnumberare32SS.                 Duetothelargenumbelol'
        debtor entities in these Chapter' 11 Cases, a cornplete list of the Debtors and the last four digits ol'their
        federal tax identification nrtnrbers is ttot provided herein. A cornplete Iist of such information rray be
        obtained on the website of the Debtors'proposed clairns and noticing agent at [.].




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                   Case 22-11066-JTD          Doc 3-1         Filed 11/14/22    Page 24 of 25




                      4.      The foregoing caption satisfies the requirements set forth in section

3a2@)Q) of the Bankruptcy Code and Bankruptcy Rules 1005 and 2002(n), or such requirernents

are hereby otherwise waived.

                      5.     A docket entry shall be made in each of the Debtors' Chapter 11 Cases,

othel than the docket maintained for the chapter 1 1 case of FTX Trading Ltd.. substantially                as


follows:

                      An order has been entered in this case under rule 1015(b) of the
                      Federal Rules of Bankruptcy Procedure directing the procedural
                      consolidation and joint administration of the chapter 1 1 cases of FTX
                      Trading Ltd. and its affiliated debtors. All further pleadings and
                      other papers shall be filed in, and all further docket entries shall be
                      made in, the docket of FTX Trading Ltd., Case No. 22-11068 (JTD)
                      and such docket should be consulted for all matters affecting this
                      chapter' 11 case.

                      6.     One consolidated docket, one       file and one consolidated service list shall     be

maintained by FTX Trading Ltd. and kept by the clerk of the Court with the assistance of the

notice and claims agent retained by the Debtors in these Chapter 1l Cases.

                      7.     Nothing contained in the Motion or this Order shall be deemed or

coustrued as directing or otherwise effecting a substantive consolidation of these Chapter             11



Cases.

                      8.     The Debtors are authorized and empowered to execute and deliver such

documetrts, and to take and perforrn all actions necessary to implernent and effectuate the relief

granted in this Order.




{ r 368.002-W0068969. )                                 ¿J-
                  Case 22-11066-JTD       Doc 3-1     Filed 11/14/22      Page 25 of 25




                     9.   This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Order.

Dated:November ,2022
          Wilmington, Delaware                          The Honorable.Iohn T. Dorsey
                                                        United States Bankruptcy Judge




{ 1368.002-W0068969. }
